        Case 1:25-cv-10313-JEK           Document 81        Filed 05/02/25      Page 1 of 2




                       IN THE UNITED STATES DISTRICT COURT
                       FOR THE DISTRICT OF MASSACHUSETTS


 ASHTON ORR et al.,

        Plaintiffs,

 v.
                                                             Civil Action No. 1:25-cv-10313
 DONALD J. TRUMP, in his official capacity
 as President of the United States et al.,

        Defendants.


      DEFENDANTS’ CONSENT MOTION TO EXTEND TIME TO RESPOND TO
                   PLAINTIFFS’ AMENDED COMPLAINT

       Defendants respectfully move to extend the time to respond to Plaintiffs’ Amended

Complaint, ECF No. 76, until two weeks after the Court rules on Plaintiffs’ Motion to Apply the

Preliminary Injunction to the Classes (ECF No. 79), which in turn is premised on a ruling on

Plaintiffs’ Motion for Class Certification (ECF No. 77). Plaintiffs recently amended the complaint

to add five additional plaintiffs. ECF No. 76. The Court previously granted a similar request to

extend the response deadline until after the Court ruled on Plaintiffs’ initial Motion for Preliminary

Relief. ECF No. 73; see Defendants’ Consent Motion for Extension of Time to File Answer, ECF

No. 71. Pursuant to the Court’s Order, Defendants’ answer is due on May 9, 2025. Id.; see ECF

No. 71. That is the same deadline pursuant to Federal Rule of Civil Procedure 15 for response to

amended pleadings. Because of the pendency of another motion for preliminary relief, and because

Defendants also need more time to investigate the claims of additional plaintiffs, Defendants

request that the response deadline be extended again until after the Court rules on Plaintiffs’

motions.

       Plaintiffs’ counsel has indicated that Plaintiffs do not oppose this request.



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       Case 1:25-cv-10313-JEK   Document 81      Filed 05/02/25        Page 2 of 2




Dated: May 2, 2025                        Respectfully submitted,

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